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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           HELENA DIVISION


 UNITED STATES OF AMERICA,                           CR 15–11–H–CCL
                     Plaintiff,
                                                  ACCEPTANCE OF PLEA
                                                   AND ADJUDICATION
        vs.                                            OF GUILT


 RYAN SCOT FRANKFORTER,


                     Defendant.



      In accordance with the Findings and Recommendations (Doc. 105) of

United States Magistrate Judge John Johnston, to which there has been no

objection, and subject to this Court’s consideration of the Plea Agreement under

Fed. R. Crim. P. 11(c)(3), Defendant’s plea of guilty to Count IV of the Indictment

is hereby accepted, subject to the Court’s review of the Presentence Report. The

Defendant is adjudged guilty of the offense of Distribution of Methamphetamine.
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All parties shall appear before this Court for sentencing on April 21, 2016, at

10:00 a.m., Courtroom II, United States Courthouse, Helena.

      The Clerk is directed forthwith to notify the parties of entry of this order.

      Done and dated this 20th day of January, 2016.




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